Case 4:24-cv-00755 Document 1 Filed on 02/20/24 in TXSD Page 1 of 7




                                          United States Courts
                                        Southern District of Texas
                                                  FILED
                                                 2/20/24
                                      Nathan Ochsner, Clerk of Court
Case 4:24-cv-00755 Document 1 Filed on 02/20/24 in TXSD Page 2 of 7
Case 4:24-cv-00755 Document 1 Filed on 02/20/24 in TXSD Page 3 of 7
Case 4:24-cv-00755 Document 1 Filed on 02/20/24 in TXSD Page 4 of 7
Case 4:24-cv-00755 Document 1 Filed on 02/20/24 in TXSD Page 5 of 7
Case 4:24-cv-00755 Document 1 Filed on 02/20/24 in TXSD Page 6 of 7
Case 4:24-cv-00755 Document 1 Filed on 02/20/24 in TXSD Page 7 of 7
